   Case: 1:18-cv-01258 Document #: 32 Filed: 04/13/18 Page 1 of 2 PageID #:1400




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,                            )
                                               )    Case No. 18-cv-01258
                       Plaintiff,              )
                                               )    Judge Manish S. Shah
      v.                                       )
                                               )    Magistrate Judge Young B. Kim
2017SHARP, et al.,                             )
                                               )
                       Defendants.             )
                                               )

                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

      Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action with prejudice against the following

Defendants:

             Defendant Name                                      Line No.
                  art_gem                                            5
                china-folkart                                       12
                zhaojiali889                                        59
               5678XL Store                                         2
          Leon baby flagship store                                  32
                regrowgirl-3                                        45
          SAFEER Lingerie Store                                     46
                    xjzu                                            58
               jadestone2008                                        25
        fashionaccessoriesclub Store                                19
               Thomas Li Online                                      53
            Toplimit HuiBang Store                                   54
                 Men'S World                                         36
             LEDINGSEN N1 Store                                      31
              Qiu My World Store                                     42
               topnovashoppping                                      55
                  KEKURILY                                           28
              Liva girl trendy Store                                 34
           CHRLEISURE Official Store                                 13
              weweya Online Store                                    57
                zhaowenhao2014                                       60
   Case: 1:18-cv-01258 Document #: 32 Filed: 04/13/18 Page 2 of 2 PageID #:1400




Dated this 13th day of April 2018.   Respectfully submitted,


                                     /s/ Justin R. Gaudio
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Jessica L. Bloodgood
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